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 1
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 3
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 5   Email: stanielslaw@dcn.org
 6
                        IN THE UNITED STATES DISTRICT COURT
 7
                  FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9   UNITED STATES OF AMERICA,             ) NO. 2:12-cr-364 GEB
                                           )
10                                         )
             Plaintiff,                    )
11                                         )
                                           ) STIPULATION AND [PROPOSED]
12                 v.                      ) ORDER CONTINUING STATUS
                                           ) CONFERENCE
13                                         )
     SIMEON GREGORY,                       )
14   SARAH ELIZABETH TROUT,                )
     TERRANCE RYCHAN SMALLS,               )
15                                         )
                                           ) Date: August 23, 2013
16            Defendants.                  ) Time: 9:00 a.m.
                                           ) Judge: Hon. Garland E. Burrell, Jr.
17                                         )
18
           IT IS HEREBY STIPULATED by and between Assistant United
19
     States Attorney Jared Dolan, counsel for Plaintiff, and Jeffrey L. Staniels,
20

21   court appointed attorney for Defendant Simeon Gregory and acting on
22
     behalf of the other named defendants as authorized by their respective
23

24   counsel, that the above case be vacated from this court’s August 23, 2013,
25
     calendar, and that it be continued until October 25, 2013, at 9:00 a.m.
26

27
     for status conference.

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 1
           The court is advised that this additional time will be utilized to permit
 2
     recently re-appointed Mr. Staniels to refresh his understanding of the case
 3

 4   and to consult with Ms. Gregory, and by all counsel to continue and
 5
     hopefully complete active and on-going settlement negotiations with the
 6

 7   government.
 8

 9         The court is requested to find that this request for a continuance is
10
     reasonable, that the interests of justice served by granting it outweigh the
11

12
     interests of the defendants and of the public in a speedy trial, and that time

13   for trial under the Speedy Trial Act be excluded pursuant to 18 U.S.C. §
14
     3161(h)(7)(b)(iv), Local Code T-4.
15

16         IT IS SO STIPULATED.
17

18

19
     Date: August 20, 2013                      /s/ Jared Dolan
                                                Jared Dolan
20                                              Assistant U.S. Attorney
21                                              Counsel for Plaintiff
22
     Date: August 20, 2013                       s/ Jeffrey L. Staniels
23                                               Jeffrey L. Staniels
24
                                                 Counsel for Defendant
                                                 Michael A. Hernandez
25

26   Dated: August 20, 2013                     /S/David D. Fischer
                                                David D. Fischer
27
                                                Attorney for Defendant
28                                              SARAH ELIZABETH TROUT
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 1
     Dated: August 20, 2013                   /S/ Steven B. Plesser
 2                                            Steven B. Plesser
                                              Attorney for Defendant
 3
                                              TERRANCE RYCHAN SMALLS
 4

 5
                                      ORDER
 6

 7
          The Court finds that the interests of justice served by granting the
 8

 9   attached request for a continuance outweigh the interest of the defendants
10
     and the public in a speedy trial. The request for a continuance is therefore
11

12
     granted. Time for trial under the Speedy Trial Act is hereby excluded

13   between August 23, 3013, and October 25, 2013 pursuant to 18 U.S.C. §
14
     3161(h)(7)(b)(iv), Local Code T-4.
15

16        It is so ordered.
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     Dated: August 20, 2013
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